                                  Exhibit N




Case: 19-30088   Doc# 522-8   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 1
                                       of 4
PO Drawer 70
Paradise, CA 95967
530-877-4413
legals@paradisepost.com
3809751

PG&E CORPORATION
77 BEALE STREET                                                         Legal No.    0006294343
SAN FRANCISCO, CA 94177




          Declaration of Publication

                   State of California
                    County of Butte



That at all times herein mentioned Declarant is and was a
resident of said county of Butte over the age of twenty-one
years; not a party to nor interested in the within matter;
that Declarant is now and was at all times herein
mentioned the Legal Clerk of the Paradise Post, a
newspaper published twice a week, which said newspaper
was adjudged a newspaper of general circulation on
November 12, 1946, by Superior Court Order No. 22262
as entered in Book 30 Page 223 of said Court; and that
said newspaper is printed and published every
Wednesday and Saturday.

ANNOUNCEMENTS

02/16/2019, 02/20/2019

and such publications was made in the regular issues of
said paper (and not in any supplemental edition or extra
thereof).




02/20/2019




Signature



                 Case: 19-30088    Doc# 522-8        Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 2
r.BP8-12/01/15                                              1 of 4
SATURDAY, FEBRUARY 16, 2019                                                                                                                                                                                         PARADISEPOST.COM              | CLASSIFIEDS                        A
                                                                                                                                                                                                                                                                                            |3
 Legal Notices               Legal Notices               Legal Notices               Legal Notices              Legal Notices               Legal Notices               Legal Notices               Legal Notices                    Legal Notices                     Legal Notices
                                                                                                  p              y                                                  j
            Request for Proposals              NOTICE OF         p e r s o n a l should appear at a t t o r n e y to the petition Trustee Sale No. warranty,                                                                                  ex- sale date shown
            Town of Paradise                   PETITION          representative to the hearing and knowledgeable in and shows good 18-006077 TSG# pressed or im- on this notice of
   Post-Fire Recovery and Rebuilding        TO ADMINISTER take                     many state                  your California law.                 cause why the DS7333-18000192 plied, regarding sale may be post-
                Assistance                    ESTATE OF:         actions without objections or file You may examine court should not APN#                                                          066-130- title, possession, poned one or
                                          Randall P. Dodge obtaining               court w r i t t e n the file kept by grant                                              the 014-000              NOTICE or encumbrances, more times by
The Town is seeking sealed propos- aka Randall Paul approval. Before objections                                with the court. If you authority.                                OF             TRUSTEE’S to pay the re- the                                        mortgagee,
als from responsible and qualified Dodge aka Randy taking                       certain the court before are                     a      person A hearing on the SALE YOU ARE IN maining principal beneficiary, trust-
firms with experience establishing P. Dodge                      very       important the hearing. Your interested in the petition will be DEFAULT UNDER A sum                                                                     of         the ee, or a court,
and operating a post-disaster (Fire, CASE NUMBER:                actions, however, appearance may estate, you may held in this court DEED OF TRUST note(s) secured pursuant to Sec-
Hurricane, Tornado, ETC.) recovery 19PR00082                     the          personal be in person or by file with the court as follows:                                       DATED 01/23/03. by said Deed of tion 2924g of the
rebuild center for a sustained period To         all     heirs, r e p r e s e n t a t i v e your attorney.             a Request for Date: March 12, UNLESS YOU TAKE Trust, with inter- California                                                                           Civil
to assist with permitting procedures b e n e f i c i a r i e s , will be required If you are a Special                                   Notice 2019 Time 9:00 ACTION TO PRO- est thereon, as Code. The law re-
associated with recovery and re- c r e d i t o r s , to give notice to creditor                             or       a (form DE-154) of a.m.                    Dept: 10 TECT YOUR PROP- provided in said quires that infor-
building efforts, general scope to in- c o n t i n g e n t i n t e r e s t e d c o n t i n g e n t the filing of an Room: Address of ERTY, IT MAY BE note(s),                                                                            advan- mation                     about
clude:                                    creditors,       and persons           unless creditor of the inventory                            and court:           Superior SOLD AT A PUBLIC ces, if any, under trustee                                                        sale
                                          persons who may they have waived decedent,                             you appraisal                  of Court                     of SALE.            IF      YOU the terms of the postponem ents
•           Review of applicable stand otherwise            be notice                    or must file your estate assets or California, County NEED AN EXPLAN- Deed of Trust, es- be made availa-
            ards                          interested in the consented to the claim with the of any petition or of Butte,                                                1775 ATION OF THE NA- timated                                      fees, ble to you and to
•           Permit review                 will or estate, or p r o p o s e d court and mail a account                                           as Concord Avenue, TURE OF THE PRO- charges and ex- the public, as a
•           Inspection services for com both, of Randall P. action.)                  The copy          to        the provided                   in Chico, CA 95928             C E E D I N G S penses of the courtesy to those
            pliance with environmental, Dodge              aka i n d e p e n d e n t p e r s o n a l Probate                              Code Branch Name:                     AGAINST                  YOU, Trustee and of not present at the
            building, fire, planning, and Randall         Paul a d m i n i s t r a t i o n r e p r e s e n t a t i v e section 1250. A If you object to YOU                                        SHOULD the trusts created sale. If you wish
            engineering regulations       Dodge aka Randy authority will be appointed by the Request                                           for the granting of CONTACT A LAW- by said Deed of to learn whether
•           Associated communication P. Dodge                    granted unless an court within the Special                              Notice the petition, you YER. On 02/26/19 Trust,                                                to-wit: your sale date
            and outreach services to in A Petition for interested person later of either (1) form is available should appear at at 3:30 PM, Aztec $51,365.65 (Esti- has been post-
            form the public on process Probate has been files an objection four months from from the court the hearing and Foreclosure Cor- mated). Accrued poned, and, if ap-
            es and procedures.            filed by: Bradley to the petition the date of first clerk.                                                state               your poration as the interest and addi- plicable, the re-
•           Additional requested serv L. Dodge in the and shows good issuance                                       of Attorney for                 objections or file duly                    appointed tional advances, scheduled                                          time
            ices may also include but Superior Court of cause why the letters to                                     a Petitioner:                  w r i t t e n Trustee                              under if any, will in- and date for the
            not limited to:               California, County court should not general personal Christian                                        A. objections           with and pursuant to crease this figure sale of this prop-
o           planning services             of: BUTTE              grant                 the representative, as Atherton                              the court before the power of sale prior to sale. The erty, you may call
o           plan check services           The petition for authority.                       defined in section 2112 Fifth Avenue the hearing. Your contained in that u n d e r s i g n e d or visit the Inter-
o           on-site plan inspection serv probate requests A hearing on the 58(b)                        of        the Oroville, CA 95965 appearance may certain Deed of caused said No- net Web site, us-
            ices                          that: Bradley L. petition will be C a l i f o r n i a 530-877-6332                                        be in person or by Trust executed by tice of Default ing the file num-
o           fire prevention plan review Dodge               be held in this court Probate Code, or Publish:                                2/16, your attorney.                 Robert J Machuta, and Election to ber assigned to
            and inspection                appointed          as as follows:                 (2) 60 days from 2/20, 2/23/2019                        If you are a a married man as Sell to be record- this                                                          case         18-
o           public works engineering      p e r s o n a l Date: March 12, the                         date          of                              creditor         or       a his sole and sepa- ed in the county 006077. Informa-
o           geotechnical      engineering representative to 2019 Time 9:00 mailing                                  or      NOTICE OF               c o n t i n g e n t rate property, as where the real tion                                                              about
            support                       administer       the a.m.          Dept: 10 personal delivery                       PETITION              creditor of the Trustor(s), in fa- property is locat- postponem ents
o           health and safety             estate     of    the Room: Hon. R. to you of a notice TO ADMINISTER decedent,                                                   you vor of ABN AMRO ed and more than that are very
o           environmental waste water decedent.                  Glusman Address under                     section          ESTATE OF:              must file your Mortgage Group, three                                               months short in duration
            services.                     The         petition of court: Superior 9052                  of        the Paula S. Dodge claim with the Inc, as Beneficia- have                                                            elapsed or that occur
                                          r e q u e s t s Court                          of C a l i f o r n i a aka Paula Susan court and mail a ry, Recorded on since such re- close in time to
Request for Proposal packages are authority                  to California, County Probate                   Code. Dodge aka Paula copy                          to        the 01/30/03 in Instru- cordation. NOTICE the                                            scheduled
available through the Town of Para- administer             the of Butte,            1775 Other California Dodge                                     p e r s o n a l ment No. 2003- TO                                           POTENTIAL sale may not im-
dise website at www.townofparadise estate under the Concord Avenue, statutes and legal CASE NUMBER:                                                 r e p r e s e n t a t i v e 0005791 of official BIDDERS: If you mediately be re-
.com or Community Development De- I n d e p e n d e n t Chico, CA 95928                     authority           may 19PR00081                       appointed by the records in the Of- are considering flected in the tel-
partment at 5555 Skyway, Paradise, Administration of Branch Name:                           affect your rights To               all       heirs, court within the fice of the county bidding on this ephone informa-
CA. 95969. Proposals must be re- Estates Act. (This If you object to as a creditor. You b e n e f i c i a r i e s , later of either (1) recorder of BUTTE property lien, you tion or on the In-
ceived at Town of Paradise, Office of authority            will the granting of may                   want          to c r e d i t o r s , four months from County, Califor- should                                                      under- ternet Web site.
the Town Clerk, 5555 Skyway, Para- allow                   the the petition, you consult with an c o n t i n g e n t the date of first nia, WILL SELL AT stand that there The best way to
dise, CA 95969, until 4:00 PM, (PDST),                                                                                 creditors,            and issuance                    of PUBLIC AUCTION are risks involved verify postpone-
February 26, 2019 . The envelope en-
                                            Legal Notices Legal Notices Legal Notices persons who may letters to                                                              a TO THE HIGHEST in bidding at a ment information
closing the proposal submittal shall                                                                                   otherwise                be general personal BIDDER FOR CASH trustee auction. is to attend the
be clearly marked “ POST-FIRE RECOV-                        NOTICE OF TRUSTEE’S SALE                                   interested in the representative, as (payable at time You will be bid- scheduled sale. w
ERY AND REBUILDING ASSISTANCE”,              YOU ARE IN DEFAULT UNDER A DEED OF TRUST DATED                            will or estate, or defined in section of sale in lawful ding on a lien, not ww.Auction.com
date and hour for opening of bids. 9/20/2007. UNLESS YOU TAKE ACTION TO PROTECT YOUR both, of Paula S. 58(b)                                                     of        the money of the on the property or call (800) 280-
Questions shall be directed to Marc          PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE. IF YOU                         Dodge aka Paula C a l i f o r n i a United States, by itself. Placing the 2832 or Aztec
Mattox at (530) 872-6291 x125.                  NEED AN EXPLANATION OF THE NATURE OF THE                               Susan Dodge aka Probate Code, or cash, a cashier’s highest bid at a Foreclosure Cor-
                                             PROCEEDING AGAINST YOU, YOU SHOULD CONTACT A                              Paula Dodge                  (2) 60 days from check drawn by a trustee                                           auction poration                   (877)
The Town reserves the right to reject                                  LAWYER.                                         A Petition for the                      date          of state or national does not auto- 257-0717 www.azt
all bids and to waive non-material A public auction sale to the highest bidder for cash, Probate has been mailing                                                            or bank, a check matically entitle e c t r u s t e e . c o m
defects in bids.                          cashier’s check drawn on a state or national bank, check filed by: Bradley personal delivery drawn by a state you to free and DATE: January 28,
Marc Mattox,                              drawn by a state or federal credit union, or a check L. Dodge in the to you of a notice or federal credit clear ownership 2019 AZTEC FORE-
Assistant Town Manager                    drawn by a state or federal savings and loan association, Superior Court of under                                         section union, or a check of the property. CLOSURE CORPO-
2/16/2019                                 or savings association, or savings bank specified in                         California, County 9052                   of        the drawn by a state You should also RATION                                                    Elaine
                                          Section 5102 of the Financial Code and authorized to do of: BUTTE                                         C a l i f o r n i a or federal savings be aware that the Malone Assistant
  Legal Notices Legal Notices business in this state will be held by the duly appointed The petition for Probate                                                      Code. and loan associa- lien being auc- Secretary / Assis-
                                          trustee as shown below, of all right, title, and interest probate requests Other California tion, savings as- tioned off may be tant Vice Presi-
           TOWN OF PARADISE               conveyed to and now held by the trustee in the                               that: Bradley L. statutes and legal sociation, or sav- a junior lien. If dent Aztec Fore-
   SUMMARY OF ORDINANCE NO. 575           hereinafter described property under and pursuant to a Dodge                                          be authority             may ings bank speci- you are the high- closure Corpora-
     AN ORDINANCE OF THE TOWN             Deed of Trust described below. The sale will be made, appointed                                       as affect your rights fied in section est bidder at the tion, 3636 N. Cen-
                  COUNCIL                 but without covenant or warranty, expressed or implied, p e r s o n a l as a creditor. You 5102 of the Finan- auction, you are tral Ave., Suite
       OF THE TOWN OF PARADISE            regarding title, possession, or encumbrances, to pay the representative to may                                        want         to cial Code and au- or may be re- #400, Phoenix, AZ
     REPEALING ORDINANCE NO. 573          remaining principal sum of the note(s) secured by the administer                                    the consult with an thorized to do sponsible for pay- 85012                                                                Phone:
    AND ADOPTING A NEW URGENCY            Deed of Trust, with interest and late charges thereon, as estate of the                                   a t t o r n e y business in this ing off all liens (877) 257-0717 or
        ORDINANCE RELATING TO             provided in the note(s), advances, under the terms of the The                               petition knowledgeable in state), Main En- senior to the lien (602)                                                              638-5700;
  INTERIM HOUSING INSIDE THE CAMP Deed of Trust, interest thereon, fees, charges and                                   r e q u e s t s California law.                          trance,                 Butte being auctioned fax: (602) 638-5748
                 FIRE AREA                expenses of the Trustee for the total amount (at the time authority                                   to You may examine County                             Court- off, before you www.aztectruste
                                          of the initial publication of the Notice of Sale) reasonably administer                             the the file kept by house, 1 Court can receive clear e . c o m
The following is a summary of             estimated to be set forth below. The amount may be estate under the the court. If you Street,                                                            Oroville, title to the prop- NPP0348158                                      To:
Ordinance No. 575:                        greater on the day of sale.                                                  I n d e p e n d e n t are              a     person CA 95965, all right, erty. You are en- PARADISE POST
                                                                                                                       Administration of interested in the title and interest couraged to in- 0 2 / 0 2 / 2 0 1 9 ,
1. The ordinance repeals                  Trustor: JACQUELINE S GITMAN, TRUSTEES JACQUELINE S Estates Act. (This estate, you may conveyed to and vestigate the ex- 0 2 / 0 9 / 2 0 1 9 ,
Ordinance No. 573.                        GITMAN REVOCABLE INTER VIVOS TRUST DATED                                     authority              will file with the court now held by it un- istence, priority, 02/16/2019
                                          FEBRUARY 22, 2007                                                            allow                  the a Request for der said Deed of and size of out-
2. Among other things, the                Duly Appointed Trustee: Zieve, Brodnax & Steele, LLP p e r s o n a l Special                                               Notice Trust in the prop- standing                                    liens
ordinance makes numerous findings Deed of Trust recorded 9/27/2007, as Instrument No. representative to (form DE-154) of erty situated in that may exist on                                                                                                             Exercise
concerning the emergency and
health hazards associated with the
                                          2007-0045869, of Official Records in the office of the Re- take
                                          corder of Butte County, California,
                                                                                                                                          many the filing of an said County, Cali- this property by
                                                                                                                       actions without inventory                          and fornia described contacting                                     the                         Your
Camp Fire.                                Date of Sale: 2/25/2019 at 3:30 PM                                           obtaining          court appraisal                    of as: 13834 FERGU- county recorder’s                                                       Legal
                                                                 At the main entrance to the County approval. Before estate assets or SON                                                             DRIVE, office or a title in-
3. As an urgency measure, the
                                          Place of Sale:
                                          Courthouse                                                                   taking          certain of any petition or MAGALIA,                                   CA surance compa-                                          Rights!
ordinance will take effect immediate- 1 Court Street Oroville, California 95965                                        very        important account                         as 95954. The prop- ny,                           either           of
ly upon adoption and will remain in                                                                                    actions, however, provided                            in erty          heretofore which                              may
effect until December 31, 2020.           Estimated amount of unpaid balance and other charges: the                                  personal Probate                  Code described is be- charge you a fee
                                          $162,229.95                                                                  r e p r e s e n t a t i v e section 1250. A ing sold "as is". for this informa-
4. The purpose of the ordinance is to Note: Because the Beneficiary reserves the right to bid will be required Request                                                      for The undersigned tion. If you con-
provide the temporary housing             less than the total debt owed, it is possible that at the to give notice to Special                                        Notice Trustee disclaims sult either                                       of
                                                                                                                                                                                                                                                             DEADLINES:
requirements within the Town of           time of the sale the opening bid may be less than the                        i n t e r e s t e d form is available any liability for these resources, Wednesday                                                               at 3p.m.
Paradise as a result of the damage        total debt owed.                                                             persons          unless      from       the     court    any      incorrectness             you         should          be
                                                                                                                                                                                                                                                                  for the
caused by Camp Fire.                                                                                                   they have waived clerk.                                  of the street ad- aware that the                                            Saturday issue
                                          Street Address or other common designation of real notice                                             or Attorney for                 dress and other same lender may
                                                                                                                                                                                                                                                            Friday at 4p.m.
5. The ordinance sets forth numerous property:                   691 & 693 FIR STREET                                  consented to the             Petitioner:                 common            designa-         hold        more        than                   for the
definitions concerning what consti-                              PARADISE, California 95969                            p r o p o s e d Christian                             A. tion,           if        any, one mortgage or Wednesday issue
tutes “eligible property”, “temporary Described as follows:                                                            action.)              The Atherton                       shown                herein. deed of trust on
housing”, and “qualifying structures” As more fully described on said Deed of Trust.                                   i n d e p e n d e n t 2112 Fifth Avenue Said sale will be the property. NO-
as they relate to providing interim                                                                                    a d m i n i s t r a t i o n Oroville, CA 95966 made, but with- TICE TO PROPER-
housing in the Town.                      A.P.N #.: 052-141-015-000                                                    authority will be Telephone: 530- out covenant or TY OWNER: The                                                                     896-7702
                                          The undersigned Trustee disclaims any liability for any granted unless an 877-6332
6. The ordinance states that up to        incorrectness of the street address or other common interested person                                     Publish:            2/16,
two temporary dwellings may be            designation, if any, shown above. If no street address or files an objection 2/20, 2/23/2019                                            Legal Notices Legal Notices Legal Notices
located on “eligible property” during other common designation is shown, directions to the
the initial 180 days from the date of     location of the property may be obtained by sending a                                                                                                  United States Bankruptcy Court for the Northern District of California
the ordinance. A temporary dwelling written request to the beneficiary within 10 days of the                                                                                     Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company



                                                                                                                                                  Exercise
                                                                                                                                                                                 Date cases ﬁled in chapter 11: 01 / 29 / 2019
is defined as either a recreational       date of first publication of this Notice of Sale.                                                                                      Case number: 19-30088 (DM) (Lead Case; Jointly Administered)
vehicle or movable tiny house.                                                                                                                                                   Notice of Chapter 11 Bankruptcy Cases
                                          NOTICE TO POTENTIAL BIDDERS: If you are considering                                                                                       For the debtors listed above, cases have been ﬁled under chapter 11 of the Bankruptcy Code
7. The ordinance provides that                                                                                                                                                   and orders for relief have been entered. This notice has important information about the cases



                                                                                                                                                    Your
                                          bidding on this property lien, you should understand that                                                                              for creditors, debtors, and trustees, including information about the meeting of creditors and
certain accessory residential             there are risks involved in bidding at a trustee auction.                                                                              deadlines.
structures may also be used as            You will be bidding on a lien, not on the property itself.                                                                                The ﬁling of the cases imposed an automatic stay against most collection activities.
interim housing for displaced per-                                                                                                                                               This means that creditors generally may not take action to collect debts from the debtors or
                                          Placing the highest bid at a trustee auction does not                                                                                  the debtors’ property. For example, while the stay is in effect, creditors cannot sue, assert a



                                                                                                                                                   Legal
sons.                                     automatically entitle you to free and clear ownership of                                                                               deﬁciency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
                                                                                                                                                                                 demand repayment from the debtors by mail, phone, or otherwise. Creditors who violate the stay
                                          the property. You should also be aware that the lien                                                                                   can be required to pay actual and punitive damages and attorney’s fees.
8. The ordinance includes the stand-      being auctioned off may be a junior lien. If you are the                                                                                   Conﬁrmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants
ards for establishing temporary           highest bidder at the auction, you are or may be                                                                                       to have a particular debt excepted from discharge may be required to ﬁle a complaint in the




                                                                                                                                                  Rights!
dwellings including utility hookups.                                                                                                                                             bankruptcy clerk’s ofﬁce within the deadline speciﬁed in this notice. (See line 11 below for more
                                          responsible for paying off all liens senior to the lien                                                                                information.)
                                          being auctioned off, before you can receive clear title to                                                                                 To protect your rights, consult an attorney. All documents ﬁled in the cases may be inspected
9. The ordinance is exempt from the       the property. You are encouraged to investigate the                                                                                    at the bankruptcy clerk’s ofﬁce at the address below or through PACER (Public Access to Court
                                                                                                                                                                                 Electronic Records at www.pacer.gov).
provisions of the California Environ-     existence, priority, and size of outstanding liens that                                                                                    The staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this
mental Quality Act pursuant to Public may exist on this property by contacting the county                                                                                        notice with any proof of claim or other ﬁling in the cases.
Resources Code sections 21080 (b)(3) recorder’s office or a title insurance company, either of                                                                                      1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale
                                                                                                                                                                                 Street, P.O. Box 77000, San Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc
and 21080 (b)(4), and CEQA Guide-         which may charge you a fee for this information. If you                                                                                Gas and Electric Company, 77 Beale Street, P.O. Box 77000, San Francisco, California 94177,
lines section 15269(a).                   consult either of these resources, you should be aware                                                                                 19-30089 (DM), XX-XXXXXXX.
                                                                                                                                                                                     2. All other names used in the last 8 years: n/a
                                          that the same lender may hold more than one mortgage                                                                                       3. Address: See above
PASSED AND ADOPTED by the Town            or deed of trust on the property.                                                                                                          4. Debtors’ Attorneys: Tobias S. Keller (#151445), KELLER & BENvENUTTi LLP, 650
Council of the Town of Paradise,                                                                                                                                                 California Street, Suite 1900, San Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice),
                                                                                                                                                                                 WEiL, GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, NY 10153. Debtors’ Claims and
County of Butte, State of California,     NOTICE TO PROPERTY OWNER: The sale date shown on                                                                                       Noticing Agent: If you have questions about this notice, please contact Prime Clerk LLC.
on this 4th day of February, 2019, by     this notice of sale may be postponed one or more times                                                                                 Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email: pgeinfo@
the following vote: AYES: Greg Bolin, by the mortgagee, beneficiary, trustee, or a court,                                                                                        primeclerk.com. Website: https://restructuring.primeclerk.com/pge
                                                                                                                                                                                    5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail
Steve Crowder, Melissa Schuster,          pursuant to Section 2924g of the California Civil Code.                                                                                Box 36099, San Francisco, CA 94102. Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT).
Mike Zuccolillo and Jody Jones,           The law requires that information about trustee sale                                                                                   Contact phone: 888-821-7606. Documents in these cases may be ﬁled at this address. You
Mayor NOES: None ABSENT: None                                                                                                                                                    may inspect all records ﬁled in these cases at this ofﬁce or online at www.pacer.com.
                                          postponements be made available to you and to the                                                                                         6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Loca-
NOT VOTING: None                          public, as a courtesy to those not present at the sale. If                                                                             tion: Phillip Burton Federal Building and U.S. Courthouse, 450 Golden Gate Avenue, 2nd Floor,
                                                                                                                                                                                 California Conference Room, San Francisco, CA 94102. The debtors’ representative must
                                          you wish to learn whether your sale date has been
Signed by Jody Jones, Mayor
Approved as to form by: Dwight L.
                                          postponed, and, if applicable, the rescheduled time and
                                          date for the sale of this property, you may call (714) 848-
                                                                                                                                                       DEADLINES:                attend the meeting to be questioned under oath. Creditors may attend, but are not required
                                                                                                                                                                                 to do so. The meeting may be continued or adjourned to a later date. if so, the date will be
                                                                                                                                                                                 on the court docket.
Moore, Town Attorney
Attested by Dina Volenski, Town
                                          9272 or visit this Internet Web site www.elitepostandpub
                                          .com, using the file number assigned to this case
                                                                                                                                                 Wednesday at 3p.m.                 7. Proof of claim deadline: Deadline for ﬁling proof of claim: To Be Determined. A
                                                                                                                                                                                 proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may
                                                                                                                                                                                 be obtained at www.uscourts.gov or any bankruptcy clerk’s ofﬁce. Your claim will be allowed
Clerk                                     18-53608. Information about postponements that are
                                          very short in duration or that occur close in time to the
                                                                                                                                                       for the                   in the amount scheduled unless: • your claim is designated as disputed, contingent, or
                                                                                                                                                                                 unliquidated; • you file a proof of claim in a different amount; or • you receive another

                                                                                                                                                   Saturday issue
                                                                                                                                                                                 notice. if your claim is not scheduled or if your claim is designated as disputed, contingent,
The complete text of Ordinance No.        scheduled sale may not immediately be reflected in the                                                                                 or unliquidated, you must ﬁle a proof of claim or you might not be paid on your claim and you
575 may be reviewed at the Town           telephone information or on the Internet Web site. The                                                                                 might be unable to vote on a plan. You may ﬁle a proof of claim even if your claim is scheduled.
                                                                                                                                                                                 You may review the schedules at the bankruptcy clerk’s ofﬁce or online at www.pacer.gov.
Clerk’s office at 5555 Skyway,            best way to verify postponement information is to
                                                                                                                                                   Friday at 4p.m.
                                                                                                                                                                                 Secured creditors retain rights in their collateral regardless of whether they ﬁle a proof of
Paradise, California or on the Town of attend the scheduled sale.                                                                                                                claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with
Paradise website at www.townofpar                                                                                                                                                consequences a lawyer can explain. For example, a secured creditor who ﬁles a proof of claim
adise.com . The Town Clerk’s tele-
phone number is (530) 872-6291 ext.
                                          Dated: 1/23/2019 Zieve, Brodnax & Steele, LLP, as
                                                                 Trustee
                                                                                                                                                       for the                   may surrender important nonmonetary rights, including the right to a jury trial.
                                                                                                                                                                                    8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a
                                                                                                                                                                                 complaint   if you want to have a debt excepted from discharge under 11 U.S.C. § 1141(d)(6)
102.
2/16/2019
                                                                 30 Corporate Park, Suite 450
                                                                 Irvine, CA 92606
                                                                                                                                                  Wednesday issue                (A). The bankruptcy clerk’s ofﬁce must receive a complaint and any required ﬁling fee by the
                                                                                                                                                                                 following deadline. Deadline for ﬁling the complaint: To Be Determined
                                                                                                                                                                                    9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a
                                                                                                                                                                                 foreign address, you may ﬁle a motion asking the court to extend the deadlines in this notice.
                                                                 For Non-Automated Sale Information,                                                                             Consult an attorney familiar with United States bankruptcy law if you have any questions
                                                                 call: (714) 848-7920                                                                                            about your rights in these cases.
                                                                 For Sale Information: (714) 848-9272                                                                               10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or
                                                                                                                                                                                 liquidate according to a plan. A plan is not effective unless the court conﬁrms it. You may
                                                                 www.elitepostandpub.com                                                                                         receive a copy of the plan and a disclosure statement telling you about the plan, and you may
                                                                                                                                                                                                   have the opportunity to vote on the plan. You will receive notice of the date of the conﬁrmation
                                                                           _____________________________                                                                                           hearing, and you may object to conﬁrmation of the plan and attend the conﬁrmation hearing.
                                                                                                                                                                                                   Unless a trustee is serving, the debtors will remain in possession of the property and may
                                                                           Andrew Buckelew, Trustee Sale                                                                                           continue to operate their business.
                                                                           Officer                                                                                                                     11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of



                                                                                                                                                    896-7702
                                                                                                                                                                                                   debts, which may include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means
                                                        THIS FIRM IS ATTEMPTING TO COLLECT A DEBT AND ANY                                                                                          that creditors may never try to collect the debt from the debtors except as provided in the plan.
                                                         INFORMATION WE OBTAINED WILL BE USED FOR THAT                                                                                             if you want to have a particular debt owed to you excepted from the discharge under 11 U.S.C.
                                                                               PURPOSE                                                                                                             § 1141(d)(6)(A), you must start a judicial proceeding by ﬁling a complaint and paying the ﬁling
                                                                                                                                                                                                   fee in the bankruptcy clerk’s ofﬁce by the deadline.
                                                              EPP 27939 Pub Dates 02/02, 02/09, 02/16/2019
                                                Case: 19-30088                        Doc# 522-8                   Filed: 02/20/19                     Entered: 02/20/19 18:38:39                                       Page 3
                                                                                                                            of 4
WEDNESDAY, FEBRUARY 20, 2019                                                                                                ★                                                                                PARADISEPOST.COM        | CLASSIFIEDS                                   A
                                                                                                                                                                                                                                                                                                  |5
 Legal Notices                     Legal Notices                     Legal Notices                    Legal Notices   Legal Notices      Legal Notices              Legal Notices               Legal Notices              Legal Notices
Notwithstanding any contrary provision in the Paradise Municipal Code, any existing small or                                                         NOTICE OF              If you object to           NOTICE OF              Concord Avenue,
large child day care facility or child care center, elementary school, junior high school, high                                                       PETITION              the granting of            PETITION               Chico, CA 95928
school or institution of higher education that was housed in premises made uninhabitable by TO ADMINISTER the petition, you TO ADMINISTER Branch Name:
the Camp Fire may be temporarily relocated to existing buildings on an Eligible Property in the                                                      ESTATE OF:             should appear at          ESTATE OF:              If you object to
Eligible Property, subject to a temporary use permit and any existing applicable standards, and Merle A. Thomas the hearing and Randall P. Dodge the granting of
subject to a building permit if any renovations are required. Nothing in this Ordinance waives CASE NUMBER:                                                                 state           your aka Randall Paul the petition, you
or affects any State law requirements applicable to such facilities.                                                                            19PR00071                   objections or file Dodge aka Randy should appear at
                                                                                                                                                To       all       heirs, w r i t t e n P. Dodge                              the hearing and
Section 12. CEQA Exemption .                                                                                                                    b e n e f i c i a r i e s , objections      with CASE NUMBER:                 state           your
Adoption of this Ordinance is exempt from the provisions of the California Environmental Quali- c r e d i t o r s , the court before 19PR00082                                                                                objections or file
ty Act (CEQA) pursuant to California Public Resources Code Section 21080(b)(3)regarding proj- c o n t i n g e n t the hearing. Your To                                                                    all        heirs, w r i t t e n
ects to maintain, repair, restore, or replace property or facilities damaged or destroyed as a re- creditors,                                                         and appearance may b e n e f i c i a r i e s , objections               with
sult of a declared disaster and Section 21080(b)(4) regarding actions to mitigate or prevent an persons who may be in person or by c r e d i t o r s , the court before




                                                                                                                                                                                                                                                      Visit the Paradise Post online at: www.paradisepost.com
emergency, and CEQA Guidelines Section 15269(a) regarding maintaining, repairing, restoring, otherwise                                                                  be your attorney.         c o n t i n g e n t the hearing. Your
demolishing, or replacing property or facilities damaged or destroyed as a result of a disaster interested in the If you are a creditors,                                                                               and appearance may
stricken area in which a state of emergency has been proclaimed by the Governor pursuant to will or estate, or creditor                                                                  or     a persons who may be in person or by
the California Emergency Services Act, commencing with Section 8550 of the California Govern- both, of Merle A. c o n t i n g e n t otherwise                                                                             be your attorney.
ment Code.                                                                                                                                      Thomas,            Merle creditor of the interested in the If you are a
                                                                                                                                                Ann Thomas                  decedent,        you will or estate, or creditor               or     a
Section 13. Severability .                                                                                                                      A Petition for must file your both, of Randall P. c o n t i n g e n t
If any section, subsection, sentence, clause, or phrase of this Ordinance is for any reason held Probate has been claim with the Dodge                                                                                  aka creditor of the
to be unconstitutional or invalid, such decision shall not affect the validity of the remaining por- filed by: Russell court and mail a Randall                                                                        Paul decedent,          you
tion of this Ordinance. The Town Council hereby declares that it would have passed this Ordi- Bellman in the copy                                                                    to      the Dodge aka Randy must file your
nance and every section, subsection, sentence, clause or phrase thereof irrespective of the fact Superior Court of p e r s o n a l P. Dodge                                                                                   claim with the
that any one or more sections, subsections, sentences, clauses or phrases be declared uncon- California, County r e p r e s e n t a t i v e A Petition for court and mail a
stitutional or invalid.                                                                                                                         of: BUTTE                   appointed by the Probate has been copy                     to      the
                                                                                                                                                The petition for court within the filed by: Bradley p e r s o n a l
Section 14. Effective Date and Publication .                                                                                                    probate requests later of either (1) L. Dodge in the r e p r e s e n t a t i v e
This Ordinance shall be and the same is hereby declared to be in full force and effect immedi- that:                                                            Russell four months from Superior Court of appointed by the
ately upon its passage by a four-fifths (4/5) or greater vote. The Town Clerk of the Town of Bellman                                                                    be the date of first California, County court within the
Paradise is authorized and directed to publish a summary of this ordinance before the expira- appointed                                                                  as issuance           of of: BUTTE                   later of either (1)
tion of fifteen (15) days after its passage. This Ordinance shall be published once, with the p e r s o n a l letters to                                                                        a The petition for four months from
names of the members of the Town Council Members voting for and against it, in the Paradise representative to general personal probate requests the date of first
Post, a newspaper of general circulation published in the Town of Paradise, State of California. administer                                                            the representative, as that: Bradley L. issuance                          of
A complete copy of this Ordinance is on file with the Town Clerk of the Town Council and is estate                                                            of       the defined in section Dodge                       be letters to           a
available for public inspection and copying during regular business hours in the office of the decedent.                                                                    58(b)    of      the appointed                 as general personal
Town Clerk.                                                                                                                                     The            petition C a l i f o r n i a p e r s o n a l representative, as
                                                                                                                                                r e q u e s t s Probate Code, or representative to defined in section
Section 15. This Ordinance shall expire on December 31, 2020.                                                                                   authority                to (2) 60 days from administer                  the 58(b)      of     the
PASSED AND ADOPTED by the Town Council of the Town of Paradise, County of Butte, State of administer                                                                   the the      date       of estate        of       the C a l i f o r n i a
California, on this 4th day of February, 2019 by the following vote:                                                                            estate under the mailing                       or decedent.                   Probate Code, or
                                                                                                                                                I n d e p e n d e n t personal delivery The                      petition (2) 60 days from
PASSED AND ADOPTED by the Town Council of the Town of Paradise, County of Butte, State of Administration of to you of a notice r e q u e s t s the                                                                                    date       of
California, on this 4th day of February, 2019, by the following vote: AYES: Greg Bolin, Steve Estates Act. (This under                                                                  section authority                  to mailing            or
Crowder, Melissa Schuster, Mike Zuccolillo and Jody Jones, Mayor NOES: None ABSENT: None authority                                                                     will 9052     of      the administer              the personal delivery
NOT VOTING: None                                                                                                                                allow                  the C a l i f o r n i a estate under the to you of a notice
Signed by Jody Jones, Mayor                                                                                                                     p e r s o n a l Probate                   Code. I n d e p e n d e n t under               section
Approved as to form by: Dwight L. Moore, Town Attorney                                                                                          representative to Other California Administration of 9052                              of      the
Attested by Dina Volenski, Town Clerk                                                                                                           take               many statutes and legal Estates Act. (This C a l i f o r n i a
2/20/2019                                                                                                                                       actions without authority                   may authority                will Probate       Code.
                                                                                                                                                obtaining          court affect your rights allow                        the Other California
  Legal Notices Legal Notices Legal Notices Legal Notices Legal Notices approval. Before as a creditor. You p e r s o n a l statutes and legal
                                            g                                                             y p                                   taking          certain may         want       to representative to authority                 may
       NOTICE OF                  very            important c o n t i n g e n t account                               as INVITATION TO very                 important consult with an take                           many affect your rights
        PETITION                  actions, however, creditor of the provided                                          in          BID           actions, however, a t t o r n e y actions without as a creditor. You
  TO ADMINISTER the                                  personal decedent,                       you Probate         Code                          the          personal knowledgeable in obtaining                     court may        want       to
      ESTATE OF:                  r e p r e s e n t a t i v e must file your section 1250. A Notice is hereby r e p r e s e n t a t i v e California law.                                         approval. Before consult with an
Paula S. Dodge will be required claim with the Request                                                               for given that sealed will be required You may examine taking                                certain a t t o r n e y
aka Paula Susan to give notice to court and mail a Special                                                       Notice bids for financial to give notice to the file kept by very                           important knowledgeable in
Dodge aka Paula i n t e r e s t e d copy                                             to       the form is available auditing services i n t e r e s t e d the court. If you actions, however, California law.
Dodge                             persons               unless p e r s o n a l from the court will be received persons                                           unless are        a    person the             personal You may examine
CASE NUMBER:                      they have waived r e p r e s e n t a t i v e clerk.                                     by Paradise           they have waived interested in the r e p r e s e n t a t i v e the file kept by
19PR00081                         notice                      or appointed by the Attorney for                            Unified      School notice                     or estate, you may will be required the court. If you
To          all        heirs, consented to the court within the Petitioner:                                               District located at consented to the file with the court to give notice to are                             a     person
b e n e f i c i a r i e s , p r o p o s e d later of either (1) Christian                                             A. 3760         Morrow p r o p o s e d a Request for i n t e r e s t e d interested in the
c r e d i t o r s , action.)                                The four months from Atherton                                 Lane, Suite #A, action.)                    The Special        Notice persons            unless estate, you may
c o n t i n g e n t i n d e p e n d e n t the date of first 2112 Fifth Avenue Chico, CA 95928. i n d e p e n d e n t (form DE-154) of they have waived file with the court
creditors,                and a d m i n i s t r a t i o n issuance                              of Oroville, CA 95966 Bids will be              a d m i n i s t r a t i o n the filing of an notice                        or a Request for
persons who may authority will be letters to                                                     a Telephone: 530- received until 3:00 authority will be inventory                           and consented to the Special                  Notice
otherwise                   be granted unless an general personal 877-6332                                                p.m. March 01, granted unless an appraisal                           of p r o p o s e d (form DE-154) of
interested in the interested person representative, as Publish:                                                   2/16, 2019, at which interested person estate assets or action.)                                      The the filing of an
will or estate, or files an objection defined in section 2/20, 2/23/2019                                                  time all bids will files an objection of any petition or i n d e p e n d e n t inventory                             and
both, of Paula S. to the petition 58(b)                                               of      the       ORDER FOR         be          publicly to the petition account                         as a d m i n i s t r a t i o n appraisal          of
Dodge aka Paula and shows good C a l i f o r n i a                                                     PUBLICATION        opened and read and shows good provided                              in authority will be estate assets or
Susan Dodge aka cause why the Probate Code, or PETITIONER: Kim & aloud. Telephone, cause why the Probate                                                                                   Code granted unless an of any petition or
Paula Dodge                       court should not (2) 60 days from Richard Smith                                         Facsimile, or E- court should not section 1250. A interested person account                                            as
A Petition for grant                                        the the                date         of REPONDENT:             mailed bids will grant                       the Request            for files an objection provided                    in
Probate has been authority.                                          mailing                    or Antonia      Michelle not be accepted authority.                         Special      Notice to the petition Probate                      Code
filed by: Bradley A hearing on the personal delivery Taylor                                                               and will automat- A hearing on the form is available and shows good section 1250. A
L. Dodge in the petition will be to you of a notice SA18-073                                                              ically be rejected. petition will be from the court cause why the Request                                             for
Superior Court of held in this court under                                              section Publication Granted: The bids must be held in this court clerk.                                   court should not Special                 Notice
California, County as follows:                                       9052            of       the The court finds that clearly        marked as follows:                    Attorney for          grant                  the form is available
of: BUTTE                         Date: March 12, C a l i f o r n i a the respondent can- “RFP                                       Auditing Date: March 12, Petitioner:                         authority.                  from the court
The petition for 2019 Time 9:00 Probate                                                   Code. not be served in any Services”.            RFP 2019 Time 9:00 Thomas E. Baker, A hearing on the clerk.
probate requests a.m.                              Dept: 10 Other California other manner speci- s p e c i f i c a t i o n s a.m. Dept: TBA Esq.                                                  petition will be Attorney for
that: Bradley L. Room: Address of statutes and legal fied in the California and requirements Room: Address of 1068 East Avenue, held in this court Petitioner:
Dodge                       be court:                Superior authority                     may code of Civil Proce- can be obtained court:                   Superior Chico, CA 95926            as follows:                 Christian          A.
appointed                    as Court                         of affect your rights dure. The court or- at no charge at Court                                            of 530-965-5672          Date: March 12, Atherton
p e r s o n a l California, County as a creditor. You ders that the docu- the Paradise                                                          California, County Publish:                2/09, 2019 Time 9:00 2112 Fifth Avenue
representative to of Butte,                                1775 may                want         to ments listed in item Unified        School of Butte,              1775 2/13, 2/20/2019         a.m.        Dept: 10 Oroville, CA 95965
administer                 the Concord Avenue, consult with an 6 be served by publi- District office, or Concord Avenue,                                                                          Room: Hon. R. 530-877-6332
estate of the                     Chico, CA 95928                    a t t o r n e y cation at least once by calling 530- Chico, CA 95928                                                         Glusman Address Publish:                   2/16,
The               petition Branch Name:                              knowledgeable in per week for our 342-3190 (x233).                         Branch Name:                                      of court: Superior 2/20, 2/23/2019
r e q u e s t s If you object to California law.                                                   successive weeks in 2/13, 2/20/2019                             ASK about package              Court                    of
authority                    to the granting of You may examine the following news-                                                                                                               California, County ASK about package
administer                 the the petition, you the file kept by paper Oroville Mer-
                                                                                                                              FICTITIOUS
                                                                                                                                                ASK    about
                                                                                                                                                  deals. 896-7777
                                                                                                                                                                    deals. 896-7777
                                                                                                                                                                package                           of Butte,            1775 deals. 896-7777
estate under the should appear at the court. If you cury Register or
I n d e p e n d e n t the hearing and are                                        a       person Paradise Post                  BUSINESS
Administration of state                                    your interested in the SUPERIOR COURT OF                              NAME
Estates Act. (This objections or file estate, you may CALIFORNIA COUNTY                                                      STATEMENT
authority                 will w r i t t e n file with the court OF YOLO                                                  The       following
allow                      the objections                  with a Request for 1000 Main Street person(s) is (are)
p e r s o n a l the court before Special                                                 Notice WOODLAND,                 doing      business
representative to the hearing. Your (form DE-154) of CALIFORNIA 95695
take                   many appearance may the filing of an WOODLAND
                                                                                                                          as V I C K ’ S
                                                                                                                          KITCHEN                Reporters,
actions without be in person or by inventory                                                  and Adoption of Savanna at 637 Pearson Rd
obtaining              court your attorney.                          appraisal
approval. Before If you are a estate assets or Fl-982 #6 - Docu- 95969
                                                                                                of M. Smith               Paradise,         CA
                                                                                                                                                 editors and
                    certain creditor                    or      a of any petition or ment to be served County of Butte
                                                                                                                                                 photographers
taking
                                                                                                   by publication         MJNS, INC
                                                                                                   "Other";               637 Pearson Rd
  Legal Notices Legal Notices Legal Notices Petition to Declare Paradise,                                                                   CA

                United States Bankruptcy Court for the Northern District of California
                                                                                                   Minor Free From Pa- 95969
                                                                                                   rental Custody and B e g a n
                                                                                                                                                 create real news.
 Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company
 Date cases ﬁled in chapter 11: 01 / 29 / 2019
 Case number: 19-30088 (DM) (Lead Case; Jointly Administered)
                                                                                                   Control Pursuant to T r a n s a c t i n g
                                                                                                   Probate Code Sec. B u s i n e s s :
                                                                                                   1516.5, Citation to 8/1/1999
                                                                                                                                                 Journalism you
                                                                                                                                                 can trust.
 Notice of Chapter 11 Bankruptcy Cases
    For the debtors listed above, cases have been ﬁled under chapter 11 of the Bankruptcy Code Parent, Adoption Re- S t a t e m e n t
 and orders for relief have been entered. This notice has important information about the cases quest, and Notice of Expires On: Not
 for creditors, debtors, and trustees, including information about the meeting of creditors and Court Hearing.            Applicable
 deadlines.
    The ﬁling of the cases imposed an automatic stay against most collection activities. Date: 1/18/2019                  Business           Is
 This means that creditors generally may not take action to collect debts from the debtors or /S/ TIMOTHY L. FALL Conducted                By:
 the debtors’ property. For example, while the stay is in effect, creditors cannot sue, assert a JUDICIAL OFFICER                                        Follow the conversation at
 deﬁciency, repossess property, or otherwise try to collect from the debtors. Creditors cannot                            Corporation This
 demand repayment from the debtors by mail, phone, or otherwise. Creditors who violate the stay ATTORNEY FOR:             statement       was            #SupportRealNews
 can be required to pay actual and punitive damages and attorney’s fees.                           KIM & RICHARD filed in the office
    Conﬁrmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants
 to have a particular debt excepted from discharge may be required to ﬁle a complaint in the
                                                                                                   SMITH                  of CANDACE J.
 bankruptcy clerk’s ofﬁce within the deadline speciﬁed in this notice. (See line 11 below for more ATTORNEY:              GRUBBS, County
 information.)                                                                                     STEPHEN             A. Clerk of Butte
    To protect your rights, consult an attorney. All documents ﬁled in the cases may be inspected
 at the bankruptcy clerk’s ofﬁce at the address below or through PACER (Public Access to Court MONTAGNA,           CFLS County,             on
 Electronic Records at www.pacer.gov).                                                             SBN: 283810            February 8, 2019,
    The staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this HODSON & MULLIN,
 notice with any proof of claim or other ﬁling in the cases.                                                              By: J.        SILVA,
    1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale Attorneys at Law Deputy.
 Street, P.O. Box 77000, San Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc 727 Texas Street FBN Number: 2019-
 Gas and Electric Company, 77 Beale Street, P.O. Box 77000, San Francisco, California 94177, Fairfield CA 94533
 19-30089 (DM), XX-XXXXXXX.                                                                                               0000195
    2. All other names used in the last 8 years: n/a                                               (707) 421-7800         Publish:       2/12,
    3. Address: See above                                                                          2/13, 2/20, 2/27, 2/19,               2/26,
    4. Debtors’ Attorneys: Tobias S. Keller (#151445), KELLER & BENvENUTTi LLP, 650 3/06/2019
 California Street, Suite 1900, San Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice),                            3/05/2019
WEiL, GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, NY 10153. Debtors’ Claims and
Noticing Agent: If you have questions about this notice, please contact Prime Clerk LLC.
Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email: pgeinfo@
primeclerk.com. Website: https://restructuring.primeclerk.com/pge
    5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail
Box 36099, San Francisco, CA 94102. Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT).
Contact phone: 888-821-7606. Documents in these cases may be ﬁled at this address. You
                                                                                                         Exercise
may inspect all records ﬁled in these cases at this ofﬁce or online at www.pacer.com.
    6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Loca-
tion: Phillip Burton Federal Building and U.S. Courthouse, 450 Golden Gate Avenue, 2nd Floor,
                                                                                                           Your
California Conference Room, San Francisco, CA 94102. The debtors’ representative must
attend the meeting to be questioned under oath. Creditors may attend, but are not required
to do so. The meeting may be continued or adjourned to a later date. if so, the date will be
                                                                                                          Legal
on the court docket.
    7. Proof of claim deadline: Deadline for ﬁling proof of claim: To Be Determined. A
proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may
                                                                                                         Rights!                                                                                                   Help show your support for
be obtained at www.uscourts.gov or any bankruptcy clerk’s ofﬁce. Your claim will be allowed
in the amount scheduled unless: • your claim is designated as disputed, contingent, or
                                                                                                                                                                                                                   the journalists - in local
unliquidated; • you file a proof of claim in a different amount; or • you receive another
notice. if your claim is not scheduled or if your claim is designated as disputed, contingent,                                                                                                                     communities and across the
or unliquidated, you must ﬁle a proof of claim or you might not be paid on your claim and you
might be unable to vote on a plan. You may ﬁle a proof of claim even if your claim is scheduled.
You may review the schedules at the bankruptcy clerk’s ofﬁce or online at www.pacer.gov.
                                                                                                                                                                                                                   country - who are working
Secured creditors retain rights in their collateral regardless of whether they ﬁle a proof of
claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with                                                                                                                tirelessly to bring you real
consequences a lawyer can explain. For example, a secured creditor who ﬁles a proof of claim
may surrender important nonmonetary rights, including the right to a jury trial.
    8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a
                                                                                                                                                                                                                   news.
complaint if you want to have a debt excepted from discharge under 11 U.S.C. § 1141(d)(6)                   DEADLINES:
(A). The bankruptcy clerk’s ofﬁce must receive a complaint and any required ﬁling fee by the            Wednesday at 3p.m.
following deadline. Deadline for ﬁling the complaint: To Be Determined
                                                                                                              for the                                                                                              Subscribe to your
    9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a
foreign address, you may ﬁle a motion asking the court to extend the deadlines in this notice.            Saturday issue                                                                                           local newspaper
Consult an attorney familiar with United States bankruptcy law if you have any questions
about your rights in these cases.
                                                                                                          Friday at 4p.m.                                                                                          today.
    10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or
liquidate according to a plan. A plan is not effective unless the court conﬁrms it. You may                   for the
receive a copy of the plan and a disclosure statement telling you about the plan, and you may
have the opportunity to vote on the plan. You will receive notice of the date of the conﬁrmation         Wednesday issue
hearing, and you may object to conﬁrmation of the plan and attend the conﬁrmation hearing.
Unless a trustee is serving, the debtors will remain in possession of the property and may
continue to operate their business.
    11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of
                                                                                                                                                THIS PUBLICATION                                               Real, Reputable, Trusted.
debts, which may include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means
that creditors may never try to collect the debt from the debtors except as provided in the plan.
if you want to have a particular debt owed to you excepted from the discharge under 11 U.S.C.
                                                                                                                                                SUPPORTS REAL NEWS.                                            Your News Media.
§ 1141(d)(6)(A), you must start a judicial proceeding by ﬁling a complaint and paying the ﬁling
fee in the bankruptcy clerk’s ofﬁce by the deadline.                                                      896-7702                                                                                                                         newsmediaalliance.org

                                                          Case: 19-30088                              Doc# 522-8       Filed: 02/20/19              Entered: 02/20/19 18:38:39                                  Page 4
                                                                                                                                of 4
